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                                       IN THE UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF MINNESOTA

                                                    ARRAIGNMENT MINUTES
UNITED STATES OF AMERICA,                                                  COURT MINUTES - CRIMINAL
                 Plaintiff,                                                   BEFORE: BECKY R. THORSON
 v.                                                                               U.S. Magistrate Judge

Jose A Felan, Jr,                                                    Case No:           20-cr-113 DSD/BRT
                                       Defendant.                    Date:              April 8, 2021
                                                                     Video Conference
                                                                     Time Commenced:    1:10 p.m.
                                                                     Time Concluded:    1:12 p.m.
                                                                     Time in Court:      2 minutes




APPEARANCES:
   Plaintiff: Allison Ethen, Assistant U.S. Attorney
   Defendant: Manny Atwal,
                       X FPD

Superseding Indictment Dated: 7/23/2020

          X Reading of Indictment Waived                X Not Guilty Plea Entered



Other Remarks:
 X Counsel to be notified of additional dates by separate Order to be issued.
 X Defendant consents to this hearing via video conference.


                                                                                                                  s/SAE
                                                                                          Signature of Courtroom Deputy




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